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                                            UNITED STATES DISTRICT COURT
                                                   DISTRICT OF OREGON
                                                   PENDLETON DIVISION

            OREGON FIREARMS FEDERATION, INC.,                        Civil   No.   2:22-cv-01815-IM (Lead Case)
            et al.,                                                  Civil   No.   3:22-cv-0 1859-IM (Trailing Case)
                                             Plaintiffs,             Civil   No.   3:22-cv-0 1862-IM (Trailing Case)
                                                                     Civil   No.   3:22-cv-0 1869-IM (Trailing Case)
                    V.
            KATE BROWN, et al.,                                      CONSOLIDATED CASES

                                             Defendants.
                                                                      CORRECTED DECLARATION OF
            MARK FITZ, et al.,
                                                                      CLAYTON CRAMER
                                             Plaintiffs,
                    V.                                                (Magazine Issue)
            ELLEN F. ROSENBLUM, et al.,

                                             Defendants.
            KATERINA B. EYRE, et al.,
                                             Plaintiffs,
                    V.

            ELLEN F. ROSENBLUM, et al.,
                                             Defendants.
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             DANIEL AZZOPARDI, et al. ,
                                                                              Plaintiffs,
                           V.

             ELLEN F. ROSENBLUM, et al. ,
                                                                              Defendants.



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                 2014, ......... ...... .......... ........ ...... ..... ... ... .............. .... ................... ..... ........ ..... .. .... ........ .... .... ... .... ... ··· ··........ ...... .. .... ..... 20

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                  I.             Purpose

                         This Expert Declaration and Report identifies one gross error of fact regarding the

            Defendant's theory that mass murders are novel or new to the modem era of the 20 th century in

            large part due to the evolution of firearms technology such as large capacity magazines. As

            discussed in this report this the01y is not supported by my own research. I have been retained to




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            provide my opinion by the Plaintiffs in Oregon Firearms Federation, Inc. et al v. Brown et al,

             Case No. 22-CV-01815-IM and Eyre et al v. Rosenblum et al, Case No. 22-cv-01862-IM. I charge

             $75.00 per hour for professional services.


                          Even without Large Capacity Magazines (LCMs ), mass murder was common and often

             individual in nature.


                    II.      My Current Research Project


                    A. Defining Mass Murder


                          Since 2019, I have been researching the history of mass murder in the United States. The

            definition of mass murder does not have a universal definition. The FBI's definition of mass

            murder is four or more dead (including the killer) in one event, in one location. 1 Other agencies,

            such as the U.S. Secret Service use the term "mass attacks" in which "three or more people are

            harmed." 2


                          For purposes of my research, I have adapted the Secret Service's definition. For purposes

            of this research, I slightly extended the FBI definition to include at least two murder victims

            committed in multiple locations within 24 hours and use the Secret Service's "three or more people

            harmed." The suicide or lawful killing of the mass murderer or murderers is not included in the

            total dead.




                1
                 FBI, Serial Murder: Multidisciplinary Perspectives for Investigators 8 (2008), distinguishing mass murder
            from serial murderers. "Generally, mass murder was described as a number of murders (four or more) occurring
            during the same incident, with no distinctive time period between the murders."
               2
                 U.S. Secret Service, Mass Attacks in Public Spaces - 2019, 6 (August, 2020).


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                     A more widely used definition of mass murder is four or more killed, making comparison

             with FBI and Secret Service data a bit more difficult. Throughout this Declaration, I will provide

             information using both definitions.


                     I have excluded multiday mass murders committed in riots, such as the New York City

             Draft Riots of 1863, and many of the race riots of the 20th century because they were not in one

             location. Determining when these murders took place precludes easy classification. I also have

             excluded crimes such as the Colorado cannibalism murders in 1874, because it is unclear over

             what period the victims were murdered.


                     There are deaths that might qualify as mass murder, but which have circumstances that

             might also qualify as lawful self-defense and are thus not included. 3 There are mass murders which

             appear to be gang-related; I have excluded many of those because determining if they were

             defensive in nature or not requires confidence in the integrity of the participants, who often have

             reason to lie.


                     Obviously, mass murder does not include acts of war.              Mass murders committed by

             governments as official policy are outside the legal definition of murder. Other horrifying mass

             killings outside our definition include those performed by non-state actors with the acquiescence,

             assistance, or encouragement of local, regional, or national governments. Some mass murders

             were not official acts but were assisted by governmental disarming of the victims. Example: the

             East St. Louis race 1iot of 1916, where police and state militia disarmed blacks in advance of a

             non-governmental mass murder.




                3
                  Renewal ofMob Attacks Resulting in 3 Deaths and 13 Injured on Second Day of Lawlessness Causes Governor
             to Act, GREAT FALLS [MONT.] DAILY TRIBUNE, Aug. 7, 1920, at 1.


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                 East St. Louis, Ill. (191 6)
                    7/7/1916: "Cowardly Police and Militia Search Negroe's [sic] Homes, Disarm Them, and

             Then Turn Them Over to the Blood-Thirsty Demons Clamoring For Their Lives. Without Arms

             or Protection 38 are Killed, More Than 200 Wounded and 325 Negro Homes are Burned and

             Looted." 4 "'I killed seventeen last night,"' he said, grinning as he shifted an ax he was carrying

             from one hand to the other. "And I am going to get a few more if I get a chance." 5


                     Category: public.

                     Suicide: No

                     Cause: Racism


                     Weapon: at least 17 by ax. 6

                     Also excluded are governmentally supported acts of mass murder committed outside the

             rules of land warfare. The bombing of the Sao Locks on the Great Lakes shortly after U.S. entry

             into World War I, which would otherwise meet the criteria of mass murder, smells suspiciously

             like German sabotage and I therefore excluded it. 7 This also excludes one of the earliest American

             mass murders: ten murdered by Lenape Indians at a school in 1764 Greencastle, Pennsylvania,8 as

             well as the many thousands (at least) killed in various Indian wars (such as the hundreds killed

             during the Dakota War of 1862).


                     I have excluded most mass murders of Indians by Indians because most were outside the

             civil society of America, and the records of such crimes are thus necessarily incomplete. The


                 4
                    "Fiends Incarnate! " Kansas City Sun , Jul. 7, 1917, 1.
                 5
                    "Listen, Men!" Kansas City Sun, Jul. 7, 1917, 1.
                  6
                    "Fiends Incarnate!" Kansas City Sun , Jul. 7, 1917, 1.
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                  Attempt Made To Wreck Soo Locks, EAST OREGONIAN, May 16, 1917, 1.
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             Criminal Justice Research Center's data on Colonial and Revolutionary New England murders

             contains examples of Indian mass murders for which we have data and I have included these. 9 I

             have included incidents here where a mass murder (by white or Indian and regardless of the

             victim's race) was clearly not a part of warfare, such as those motivated by robbery or kidnapping

             with the goal of ransom.

                      There are mass murders where the victim count includes people killed because a felony

             was taking place. Because of the felony-murder rule, I have included people killed lawfully in the

             course of a felony as mass murder victims, such as happened in the Johnson County War. 10 I have

             excluded incidents in which all the dead were felons. 11


                      There are incidents which might be best categorized as mutual combat, where armed

             groups attacked each other with great loss of life but determining who were the victims and who

             were the murderers is not easy from surviving news coverage, such as the struggle between

             Democratic and Republican campaign workers in Clayhole Voting Precinct in 1922. The ensuing

             gunfight killed at least five people and wounded ten to thirteen others. 12


                      I have excluded a small number of cases where trial found the killer not guilty of what were

             clearly mass murders. Example: Miss Verna Ware opened fire in the Gatesville courthouse in

             1909, killing the man she accused of seducing her, two others not involved in the case and

             wounding a fourth. 13




                9
                    Criminal Justice Research Center, Homicide Among Adults in Colonial and Revolutionary New England, 1630-
             1 797, https://cjrc.osu.edu/research/interdisciplinary/hvd/united-states/colonial-revolutionary-new-england.
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                    A War in Wyoming, [Maysville, Ky.] EVENING B ULLETIN , Apr. 13, 1892, 1.
                 11
                    Nevada Mining Boss Besieged in His Office, KALISPELL B EE, Jan. 09, 1903, 1
                 12
                    Some Facts About Clay hole, [Lancaster, Ky.] CENTRAL RECORD, Jul. 20, 1922, 1.
                 13
                     Woman to Face Murder Charge, WAXAHACHIE [Tex.] D AILY LIGHT, Feb. 8, 1909, l ; Four People Wounded,
             PALESTINE [Tex.] D AILY H ERALD, Feb. 4, 1909, 2; Ju,y Verdict Not Guilty, LIB ERTY [TEX.] VINDICATOR, Feb. 11 , 1910, 1.
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                 B. Finding Mass Murders


                     How do you find historical mass murders? The phrase "mass murder" is quite rare in

             historical documents. Using the ngram tool in books.google.com for books published 1600-2000

             shows essentially zero matches until 1952, 14 and many of the rare pre-1952 matches are actually

             abbreviations of Massachusetts such as "Mass. Murder" or "Mass., murder." 15 The abbreviation

             "Mass." causes similar problems when searching the Library of Congress' collection of 1789-1963

             newspapers for the words "mass" and "murder" within five words of each other. 16 An additional

            problem is the use of the phrase to describe governmentally sanctioned and indeed government-

             operated warfare. 17


                     Searching the Library of Congress' Chronicling America collection of newspapers for the

             words "murders", "murdered", "killed", "slain", "dead" in association with numbers found a sea

            of matches, most of which needed to be read before discarding. In many cases, similar or identical

            news stories appeared in multiple newspapers. If the same facts appeared repeatedly, and there

            were hundreds of references to an event, I did not read every newspaper account of that event.

                     There are several frustrating limitations of the Chronicling America collection:

                     1. Copyright restrictions make post-1922 newspaper collections incomplete.

                14

            https://books.google.com/ngrams/graph?content=%2 7mass+murder%2 7&year start= l 600&year end=2000&corpus
            = l 7&smoothing=3&share=&direct url=t l %3B%2C%27%20mass%20murder%20%27%3B%2Cc0, last accessed
            June 12, 2018.
                 15
                    Examples: Michigan State Prison, BIENNIAL REPORT OF THE BOARD OF CONTROL AND OFFICERS OF THE STATE HOUSE OF
            CORRECTION AND BRANCH PRISON OF STATE PRJSON IN UPPER P ENINSULA . . . 22, 41 , 65 (1916),; R.W. Bligh, comp., NEW
            YORK H ERALD ALMANAC: FINANCIAL, COMMERCIAL AND POLITICAL REGISTER 1874 87 (1874).
                16

            https://chroniclingamerica. loc.gov/search/pages/results/?state=&dateFilterType=yearRange&date l = l 789&date2= 19
            63&language=&ortext=&andtext=&phrasetext=&proxtext=mass+murder&proxdistance=5&rows=20&searchType=
            advanced; Examples: 'Joe is a Good Boy,' Declares Ettor's Parents, [Chicago, Ill.] THEDAvBooK, Oct. 25, 1912;
            14; Queries Pour in on J Frank Hickey, [Chicago, Ill.] THE DAY BOOK, Dec. 4, 1912, 28; Written Authority to Walk
            in Your Own Town , [Chicago, Ill.] THE DAY BooK, Feb. 5, 1912.
                17
                   Jos. Veltman, Do Workers Want War ? [letter to the editor] [Chicago, Ill.] THE D AY BOOK, Jan. 17, 1916, 23.


                                                                        11
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                     2. Many of these mass murders, in addition to appearing in many different newspapers,
                        sometimes appear in only one or two newspapers, far removed from the crime, both
                        geographically and temporally. One example is a mass murder of three in Tamworth,
                        N.H. in 1857 which appeared only in an 1858 summary of the previous year's events,
                        which was published in Pennsylvania. 18 This made it difficult to gather additional data
                        on the crime.
                     3. Nineteenth century accounts often used the word "murders" rather far afield from its
                        legal meaning, or in reference to general social problems such as alcohol. This
                        produced so many thousands of matches that I have often settled for detailed
                        examination of the first 100 front page news stories. Newspapers in the nineteenth
                        century also published many foreign news accounts and fiction . Limiting searches to
                        the front pages thus reduced false positives which would have to be laboriously
                        examined for location and fiction status. (If it didn't make the front page, it seems
                        unlikely it could be either a specific crime, or something as shocking as a mass murder.)

                     Defining a mass murder by the number of dead can understate mass murders, if either

            police or civilian intervention interrupts the murderer. (There are some examples in my list of

            mass murders cut short, although not short enough, by such actions.) In addition, some of the

            events gathered here list crimes in which the immediate coverage includes persons wounded so
                                                                                        19
            seriously that the coverage describes them as "probably fatally."                When considering the nature

            of medical and surgical care available until my lifetime, it seems a good guess that those described

            as "probably fatally" wounded can be properly included among the dead.


                     One limitation of my research project is that, as my father used to tell me, "Newspapers

            are the first draft of history." They may miss mass murders because oflocation, loss of newspapers

            from the historical record, and sometimes intentional editorial refusal to cover barbarous behavior

            (which has been demonstrated to promote copycat mass murders, even to the choice of

            manufacturer of the weapon used). 20




               18
                  Principal Events of General and Local Interest During the Year 185 7, L EWISTON [PENN.] G AZETTE, Jan. 21,
            1858, 1.
               19 Maniacal Unknown in Attempt to Exterminate Whole Family, BI SBEE [Aruz.] D AILY R EVIEW, Apr. 6, 1922, 1.
                2
                 ° Clayton E. Cramer, Ethical Problems ofMass Murder Coverage in the Mass Media, 9: 1 J OURNAL OF M ASS M EDIA
            ETHJCS 26-42 (Winter, 1993-94).




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                      There is a well-established pattern of copycat crimes inspired by news coverage. One

             example: An 1887 murder (although with only two victims and thus not in the database) was

            unmistakably a copycat of a recently reported mass murder. A mechanic read an article about a

            mass murder committed in part with Rough on Rats, a poison, 21 to his wife:


                       His wife listened to the account of the .. . murder and then bade her husband read
                       it. He went over it a third time and then she took the paper to the neighbors and
                       had it read twice more. Thursday she sent her mother for yeast, and took a heavy
                       dose of Rough on Rats and forced a dose of the poison down the throat of her
                       babe .... The woman died in great agony and her babe expired soon after. 22
                      Along with Chronicling America, I have made extensive use of the commercial site

            Newspapers.com and a few secondary sources.


                      Another valuable source was the list of "Homicide among Adults in Colonial and

            Revolutionary New England, 1630-1797," compiled by Randolph Roth and Cornelia Hughes

            Dayton. 23 While this is a list of all murders, not just mass murders, it provided an additional source

            of incidents.



                 C. Group Activity


                      The State's claim is that earlier mass murders were "typically ... a group activity, because

            technological limitations impaired the ability of a single person to commit mass murder." The

            supposed distinction between modem individual mass murder and group mass murder of earlier

            centuries does not stand careful examination. Mass murder is, still sometimes a group activity.




                 21
                   "A Maniac Mother," St. Paul Daily Globe, Apr. 24, 1886, 1.
                 22
                   "Rough on Rats," Austin Weekly Statesman , Feb. 3, 1887, 7.
               23
                  Randolph Roth and Cornelia Hughes Dayton, comp., Homicide among Adults in Colonial and Revolutionary
            New England, 1630-1 797, Oct. 2009, https://cjrc.osu.edu/research/interdisciplinary/hvd/united-states/colonial-
            revolutionary-new-england, last accessed June 12, 2018.


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             Such happened at Littleton, Colo. on Apr. 20, 1999 24 and the terrorist attacks of September 11 ,

             2001. Other recent group mass murders include one on Oct. 31, 2019, in Orinda, Cal. A conflict

             between gangs led to a shooting in which the murderers shot to death five people and "several

             others were injured. " 25 On Dec. 31 , 1986, in San Juan, P.R. three Teamsters attempted to negotiate

             a better labor contract with their employer by setting a fire that murdered 97 people. 26


                     As this declaration later shows, individual mass murder is neither particularly modern not

             dependent on technological advances .



                 D. Data Limitations


                      It would be very useful to be able to extract data identifying which were group mass

             murders and which were individual. When I started this project, this seemed an unnecessary detail

             and so I did not gather it. While I cannot provide that level of detail on group vs. individual mass

             murders, I can say with confidence that the mass murders in my collection are primarily individual,

             although there are a number that are group . How can I be so sure? Family mass murders are very

             common both historically and in the present. They are usually by either the father or mother.


                      Before 1960, the intra-family mass murders are 759 of 1,836 incidents; 2,801 out of 8,378

             dead. (For 4 or more dead: 291 incidents, dead 1,416).




                24  R. Barri Flowers and H. Loraine Flowers, MURDERS rN THE UNITED STATES: CRIMES, KILLERS AND VICTIMS OF THE
             TWENTIETH CENTURY   59 (2001).
                 25
                    Annie Sciacca, "It was a bloodbath": Orinda Halloween shooting investigation reveals gang connections,
             SAN JOSE M ERCU RY-NEWS, Nov. 17, 2019.
                 26 3 Teamsters Charged in San Juan Hotel Fire, CHICAGO TRIB UNE, Feb. 4, 1988,

             https://www.chicagotribune.com/news/ct-xpm-1988-02-04-8803270617-story.htrnl, last accessed November 24,
             201 8.


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                      When gathering this data, I only recorded if a particular weapon was used rather than

             counting deaths by weapon. In older news accounts, there is no breakdown of deaths by weapon.

             In many cases, the state of forensic medicine would make it impossible to determine if the ax to

             the head or the subsequent knife to the throat was the fatal injury. It would make little difference

             which caused a victim's death: the murderer's punishment would be the same.


                      A few examples of mass murders when firearms technology was completely irrelevant:


                      Clarksburg, Va.: Nov. 10, 1805: Man murdered his wife and eight children. While found

             guilty, there was substantial evidence of mental illness. Weapon: ax. 27


                      Hallowell, Me.: Jul. 9, 1806, The father murdered his wife and seven of his eight children

             with an axe or knife before killing himself with a knife. The cause was unclear, but the murderer

             mentioned poverty in a suicide note. Weapon: ax.28


                      Uniontown, Wash. Feb. 25, 1901: A woman threw her six children down a 30 foot deep

             well, "then jumped into the well, and, the belief is, held their heads under water until all were

             drowned." 29 "She is violently insane. The woman' s husband died a year ago, and she has been

             supported by the county and charity of neighbors." 30 Reporter interview supports evidence of

             insanity: "[S]he gave him incoherent reasons for slaying her little ones .... [s]he had read of the

             Chinese war and the terrible atrocities committed in the Orient, and had warning that the Chinese

             were corning today to bum her house and slay her children.. . Mr. Rusterneyer. .. was well




                27  Trial ofAbel Clements, [E dinburg h , Scotland] CALEDONIAN M ERCURY, Aug. 25 , 1806, 4.
                28  Laurel Thatcher Ulrich, A M IDWIF E'S T AL E: THE L IFE OF MARTHA B ALLARD, B ASED ON HER D IARY, 1785-1812 291-307
             ( 1990),; H ORRID M URDER ! A T A N EARLY H OUR O N W EDNESDAY M ORNING L AST, TH E INHAB ITANTS O F THI S T OWN W ERE
             ALARMED WITH THE D READFUL INFORMATION .. . 1 ( 1806).
                 29
                    Drowned Her Six Children, ADAMS CoUNTY NEws [Ritzville, Wash.] Feb. 27, 1901 , 4 .
                 30
                    W ASHINGTON S TANDARD [Olympia, Wash.], Mar. 1, 1901 , 3.



                                                                             15
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             acquainted with the family... He said ... Mrs. Wurzer was never considered just right in her mind,

             and thinks she should have been restrained of her liberty long ago." Weapon: drowning. 31



                 Belvidere, N.J. (1843)
                    Two (perhaps three) men murdered John Castner, his wife, one of their children, "and an

             old bachelor brother-in-law." The purpose was believed to be either robbery or inheritance of the

             land by one of the murderers. Weapon: blunt object32

                      Before 1960, there were 807 non-firearm mass murders: 3,812 dead: an average of 4.72

             dead per incident; 866 exclusively firearms mass murders, 3,740 dead: an average of 4.31 dead

            per incident. (For four or more dead: 393 non-firearm incidents, 2,590 dead, an average of 5.59

             dead per incident. Firearms incidents: 313 with 2,1 10 dead; 5. 74 average.) Firearms mass murders

             were not rare, even with "primitive" technology:



                 Swan River, Minn. Terr. (1860)
                    Early 1860 or late 1859: A very complex incident. One Chippewa wanior ("A") murdered

             another Chippewa ("B"). A few days later, B's squaw ("C") saw A, and shot him. A's brother

             ("D") shot C. C's brother ("E") shot D.


                      Category: public

                      Suicide: no

                      Cause: revenge

                      Weapon: firearm 33



                31 Killed Her Children, COTTONWOOD [Ida.] R EPORT, Mar. 1, 1901 , 1.
                 32
                    "The Warren Tragedy," American Republican and Baltimore Daily Clipper, Jan. 23, 1845. 1.
                 33
                    Indian revenge, MUSCATrNE [Iowa] W EEKLY JOURNAL, Jan. 27, 1860, 1.


                                                                       16
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                 Coldwater, Mich. (1865)
                    Jan. 30, 1865: Young man becomes engaged to a woman in Lorain Co., Ohio. This is a

            problem, because his wife in Coldwater, Mich., is about to give birth, so he returns home, where

            his wife lives with the young man' s parents. In the midst of giving birth, the young man murdered

            his wife. When the young man's father and mother showed up, he shot them to death. (Other

            accounts identify the town as Woodstock, and that the murder of his wife and unborn child

            followed the murder of his parents.) His behavior after arrest, as newspaper coverage described,

            "suggests the charitable conjecture that the man is insane." He confessed the crime and signed

            autographs for the crowd around the jail that described himself as "murderer of his wife, father

            and mother." He invited his friends in Lorain County to visit him in jail "where they would find

            him 'playing checkers with his nose, on the jail windows. "'


                        Category: family


                        Suicide: no


                        Cause: mental illness


                        Weapon: firearm 34



                 Sleepy Hollow, N.Y. (1870)
                    Jan. 1. 1870: Farmer murdered his wife, and two of his neighbors, father and son, who

            appear to have visited the murderer's wife in his absence. The murderer had a reputation for being

            too fond of rum.


                        Category: public




                 34
                      A Triple Murder, [Plymouth, Ind.] MARSHALL COUNTY REPUBLICAN, Feb. 16, 1865, 1.


                                                                          17
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                      Suicide: no


                      Cause: jealousy?


                      Weapon: firearm 35



                 Glenville, Minn. (1889)
                    Feb. 15, 1889: Murderer, relative of the victims, shot to death, "Mary Chemeieck, aged six,

             and her sister Rose, aged eleven ... " Apparently, his niece, Rose, had spurned his advances. He

             then murdered their mother with a shotgun and committed suicide.


                      Suicide: yes


                      Cause: unknown


                      Weapon: pistol, shotgun 36

                      A mass murder that is not part of the database shows how "primitive" firearms technology

             is not a barrier to school mass murder. A former teacher showed up at a Bremen, Germany,

             Catholic school "armed with six loaded revolvers." He killed one teacher, two children, "three

             children were gravely injured and three other children were slightly wounded." The article

             described him as "demented."37 Depending on whether they were they were 5-shot, 6-shot, or 9-

             shot revolvers (all still common today) he could have fired 30, 36, or 54 shots without reloading.


                      Of course, reloading a revolver with speedloaders can be done by a skilled shooter in a

             second or two at most. Jerry Miculek has demonstrated his ability to accurately fire 16 rounds in




                 35 A Triple Murder at Sleepy Hollo w, WI LM INGTON [N.C.] JOURNAL, Jan. 14, 1870, l.
                 36 He was a Rejected Lover, ST. P AUL GLOBE, Feb. 17, 1889, 1.
                 37 Maniac Shot Many People, B ARRE [Vt.] D AILY TIMES, Jun. 20, 1913, 1.




                                                                          18
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             four seconds from an eight-round revolver using a speedloader. 38 A mass murderer carrying four

             speedloaders could accurately fire forty rounds in eight seconds. This is slower than a mass

             murderer with a semiauto rifle and a 30-round magazine, but not by much.


                     Fiream1s become more common weapons by the 1920s. Axes and hatchets declined as

             wood stoves became less common. While I have not categorized the poison mass murders as

             precisely as I might do if I were starting from scratch, "illuminating gas" and "Rough on Rats"

             (both commonly used to wipe out your spouse and children) declined as automobile exhaust

             poisoning rose.

                     This should be no surprise; mass murderers use what is available. This May 20, 1931,

             Mattoon, Ill. incident catches this improvisational nature well. A former employee of her late

             husband attempted to bum to death the woman and her two daughters with whom he had recently

             moved to Illinois. They escaped the burning house. He then shot to death the mother, attempted

             to strangle the daughters, then shot them and beat them to death with an automobile starter crank.

             Weapons: firearm, strangle, blunt. 39 Similarly, May 30, 1840: The husband, murdered his mother-

             in-law and her five children. Cause: robbery. Weapon: strangulation; stone; axe, rifle; knife. He

             confessed after the first hanging failed. 40

                     Even today's gun mass murderers are not as narrowly focused as the popular imagination

             sees them. May 24, 2014, Isla Vista, Cal.: College student, upset about his sex life (or rather its

             absence) stabbed to death his three roommates, shot three women at a sorority (two of whom died),




                  38
                      "Revolver Speed Reload! 16 rounds in four seconds on slo mo!                S&W 929 Jerry Miculek,"
             https://www.youtube.com/watch?v=0FbUMqoyjDw&t=7s, last accessed January 17, 2023.
                 39 Woman Shot. Tots Choked, BROWNSVILLE HERALD, May 20, 1931, 1.
                  40
                     Trial, Confession, and Execution of Robert M 'Conaghy for the Murder of Mrs. Brown and her Five Children
             6-7, 9-10 (1841).


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            shot another student, injured two bicyclists by ramming them with his car, and shot and wounded

            four pedestrians. 41


                         For the following table, some of these weapon types require explanation.


                         UNKNOWN means the weapon type was not identified in the article.


                         AIRCRAFT is for murders committed with an airplane (not all of which took place on Sep.

             11 , 2001 ). (Bombing of planes is in the EXPLOSIVE weapon type.)


                         TRAIN involves intentional derailment of trains to cause loss of life. The motivation for

            most of these crimes in uncertain. One was insurance fraud; authorities alleged "that the men

            entered into the plot to get rid of their wives and at the same time to collect damages from the

            railroad company." One of the murderers collected $500 from the railroad for injuries to his wife. 42

            Another, on Dec. 27, 1934: Police charged three men with the intentional derailment of a train, in

            the hopes that one of the train crew would lose his job, so that one of the three would get that job.

            The crash killed three employees and injured 16 passengers. 43


                         Incident count by weapon type for mass murders before 1960 where only one weapon type

            was used:


             summarize by method BEFOREG0_SINGLE_WEAPON_DTL
                          method                cnt_incident        total_dead
             arson                                            72               466
             ax                                               93               419
             blunt                                            91               363
             drown                                            24                82
             explosive                                        34               278

                  41
                     Shelby Lin Erdman and Greg Botelho, Timeline: A ki.ller's rampage through a California college town , CNN, May
            27, 20 14, https://www.cnn.com/2014/05/24/us/califomia-rampage-timeline/, last accessed November 27, 2018.
                  42
                       Plot to Kill Their Wives, [Maysville, Ky.] EVENING B ULLETIN, Mar. 26, 1896, 1.
                  43
                       Trio Held In Wreck Accused Of Murder, [Washington, D.C.] EVENING STAR, Mar. 10, 1935, 1.


                                                                          20
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            summarize by method BEFORE60_SINGLE_WEAPON_DTL
                        method             cnt_incident           total_dead
             firearm unknown                            408                 2063
             hang                                        40                  149
             hatchet                                         19               63
             kn ife                                          49              178
             machine_gun                                      7               37
             other                                           13              122
             othersharp                                      28              106
             personal                                         2               9
             pistol                                     201                 693
             po ison                                     67                 260
             rifl e                                     119                 451
             shotgun                                     84                  307
             strangle                                        16               54
             train                                           15               76




                  III. Killing People Without Modern Firearms Technology

                       How do you kill lots of people without modem firearms technology? Before 1960, there

            are four incidents with more than 50 dead. Colfax, Louisiana (1873) where the KKK murdered

             150 black civil rights activists using firearms; Mountain Meadows, Utah (1857) where Mormons

            with firearms of type unknown murdered 140 settlers moving west; Tulsa, Okla. ( 1921 ), at least

            89 murdered by a mob, with a variety of weapons, Calumet, Mich. (1913) where one person

            provoked a panic that killed 74 people, mostly trampled to death.

                       By comparison, my database, while incomplete after 1960, has six mass murders with more

            than 50 dead after 1960: San Juan, P.R. (1986), 97, dead by arson committed by three men; New

            York City (1990), 87 dead by arson by one person; Oklahoma City (1995), 168, dead by explosive

            committed by two (only one was given a capital sentence); New York City (2001), 3047, dead by


                                                                       21
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            aircraft, and Arlington, Va. (2001), 184, dead by aircraft with 19 murderers from both events; Las

            Vegas (2017), 58, dead by one rifleman.



                       A. Explosives


                       One popular method was explosives.



                 Sells, Ark. (1900)
                     Oct. 15, 1900: "[F]ather, mother, and four young children blown to atoms" by dynamite

            explosion. "It is believed that a dispute over a homestead claim prompted the outrage."


                       Category: family non-resident


                       Suicide: no

                       Cause: greed


                       Weapon: explosives44



                 Cripple Creek, Colo. (1904)
                    Jun. 5, 1904: Someone set off a bomb under a train station platform where non-union men

            were waiting for a train during a strike.                  Twelve died "and a score or more injured ... "

             Subsequently, "Forty shots were fired in a crowd in the street. Two men were killed and at least

            six persons wounded." One of the dead "by blow from revolver." Then the National Guard troops

            showed up and attempted to restore order.

                       Category: public




                44
                     Whole Family Murdered, [St. Genevieve, Mo.] FA IR PLAY, Oct. 20. 1900, l .


                                                                           22
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                     Suicide: no


                     Cause: labor


                     Weapon: explosives, firearm, blunt 45



                 Mullins, W.Va. (1909)
                   5/16/1909: The Black Hand used dynamite to blow up an Italian boarding house. One of

            the victims broke faith with the Black Hand. The explosion killed four and injured three.


                     Category: residential


                     Suicide: no


                     Cause: gang


                     Weapon: explosives 46



                 Mudlow, W.Va. (1912)
                   7/26/ 1912: Striking miners dynamited a machine gun operated by agents of the Baldwin

             detective agency, killing three miners and seven detectives.


                     Category: public


                     Suicide: no


                     Cause: labor


                     Weapon: explosives 47




                45 Terrorism and Death Dominate Colorado , SAINT PAUL GLOBE, Jun. 7, 1904, 1.
                46 Black Hand Kills Four By Dynamite, BLUEF IELD [W.Va.] EVENING LEADER, May 17, 1909, 1.
                47 Seven Detectives and Three Miners Dead, S EATTLE STAR, Jul. 26, 1912, 1.




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                 Superior, Penn. (1914)
                    11/15/1914: Someone blew up the Kanaza general store, which was also the Kanaza

            residence, with two separate dynamite bombs, killing Kanaza's three children and two other men.

            Five others suffered injuries. Mr. Kanaza believed the motive was revenge for a lawsuit.


                     Category: family


                     Suicide: no

                     Cause: revenge


                     Weapon: explosives 48



                 San Francisco, Cal. (1916)
                    Feb. 22, 1916: Someone set off a dynamite bomb during the "Preparedness Day Parade,"

            in preparation for World War I. While the identity of the murderers is uncertain (California

            Governor Culbert Olson many years later pardoned those originally convicted as evidence of

            perjury at the trial accumulated), circumstances suggests that it was the work of anarchists, hostile

            to U.S. involvement in the war.

                     Category: public


                     Suicide: no

                     Cause: terrorism

                     Weapon: dynamite 49




                48
                   Dynamite Kills Five In Spite Act, NEW-YORK TRIBUNE, Nov. 16, 1914, 1.
                49 Dynamite Trial Opens Today in 'Frisco; 10 Were Killed by Bomb , B EM IDJI [Minn.] D AILY PIONEER, Jan. 3, 1917,
             1; Preparedness Day Bombing, https://en. wikipedia.org/wiki/Preparedness_Day_Bombing#Later_ investi gations.


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                 New York, N.Y. (1920)
                   09/16/1920: Anarchists set off a bomb in Wall Street, killing 31 and injuring 125 others.


                        Category: public


                        Suicide: No


                        Cause: terrorism


                        Weapon: TNT50



                 Germantown, Md. (1920)
                    11/18/1920: Two neighbors had a longstanding feud . On Election Day, one shot the other

            in the neck. The farmer shot in the neck took revenge with 50 pounds of dynamite, killing his

            neighbor, the housekeeper and her two children.


                        Category: family non-resident


                        Suicide: no


                        Cause: revenge


                        Weapon: explosives 51



                 Pittsburgh, Penn. (1925)
                     May 6. 1925: Two bombs destroyed three buildings, killing eight people immediately, and

            fatally injuring two others. One of the buildings housed a grocer who had been the victim of

            extortion threats by a Black Hand society.


                        Category: residential


                50   Bomb Batters Wall Street; 31 Slain, 125 Hurt , THE S UN AND THE N EW Y oRK H ERALD, Sep. 17, 1920, 1.
                51
                     Bomb Wrecks Farmers Home Killing Three, [Salem, Ore.] CAPITAL J OURNAL, Nov. 19, 1920, 1.


                                                                             25
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                         Suicide: no


                         Cause: extortion


                         Weapon: explosive 52



                 Bath, Michigan (1927)
                    May 18, 1927: Treasurer of the local school board was angered by his property tax increase

             to pay for a new school building that he had opposed. He placed a dynamite bomb in the basement

             of the school, by which method he murdered 37 children and six adults as well as seriously injuring

             44 others. Only a wiring mistake prevented other charges from taking down the rest of the building

             which endangered 150 more students. The murderer had already beaten his wife to death at their

             home before blowing up their house. He blew himself up in his car in front of the school 30

             minutes after the school explosion.

                         Category: public


                         Suicide: yes


                         Cause: revenge


                         Weapon: explosive, blunt object53



                 New York, N.Y. (1927)
                    Oct. 8, 1927: Someone set off a dynamite bomb demolishing a four-story apartment

             building, killing five and injuring eleven. Why did police assume a dynamite bomb? "Finding of

             20-Pound Unexploded Bomb Leads Police to Suspect Infernal Machine."



                52
                      Eight Are Killed In Blasted Homes, [Washington, D.C.J EVENING STAR, May 06, 1925, 1.
                 53
                      Fate Sa ves Scores in Blast Wh en Maniac's Plot Kills 43 , [Washington, D.C.] EVEN ING S TAR, May 19, 1927, 1.


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                     Category: public


                     Suicide: no


                     Cause: unknown


                     Weapon: explosive 54



                 Newton, Mass. (1928)
                   01/31/1928: Someone used dynamite to destroy a building containing "extensive liquor

             making apparatus in the basement." Six people died.


                     Category: private


                     Suicide: no


                     Cause: gang?


                     Weapon: explosive 55



                 Seat Pleasant, Md. (1930)
                    01/01/1930: A belated and misdelivered Christmas gift was dynamite and exploded as the

             family unwrapped it. The explosion killed an expectant mother and two siblings, her mother, and

             injured two other siblings. The family was new to the community with no known enemies.


                     Category: family non-resident


                     Suicide: no




               54
                  Four Killed In Bomb Explosion In Tenement District Of New York, [Douglas, Ariz.] DOUGLAS D AILY DISPATCH,
            Oct. 09, 1927, l ; Five Killed, 11 Hurt As Explosion Razes 35th St. Tenement, N EwYoRK TIM ES, Oct. 9, 1927, l.
               55
                  Myste,y Explosion Is Fatal To Six -Bodies Taken From Debris Of Two-Story, BROWNSVILLE H ERALD, Jan. 31,
            1928, 1.


                                                                       27
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                     Cause: unknown

                     Weapon: explosives 56



                 Chesterton, Ind. (1933)
                    10/10/1933: A bomb explosion in the cargo compartment aboard a United Airlines flight

            ripped the plane apart, killing seven people. Motive remained uncertain.

                     Category: public

                     Suicide: no


                     Cause: unknown

                     Weapon: explosive 57



                 Denver, Colo. (1955)
                    11/1/1955: The 23-year-old son of passenger Daisie E. King eventually confessed that he

            placed a 25-stick dynamite bomb in her luggage, blowing up her airliner, killing 44 people. The

            murderer had taken out life insurance policies on his mother and was expecting to receive a

            "substantial inheritance" upon her death.

                     Category: public

                     Suicide: no

                     Cause: greed




                56
                   Gift Package Bomb Kills Woman; 5 Hurt, [Washington, D.C.) E VENING STAR, Jan. 01 , 1930, l ; Bomb Survivors
            Tell Of Explosion, (Washington, D.C.] EVENING STAR, Jan. 12, 1930, 1.
                57 Ill-Fated Plane Wrecked By Bomb US Prober Says, INDIANAPOLIS TIMES, Oct. 14, 1933, 1.




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                      Weapon: explosives 58


                      Since 1960, this technology, despite attempts to regulate explosives, remain a big dead per

             incident killer. Using fertilizer, a murderer on Apr. 20, 1995, set off a truck bomb in front of the

             Oklahoma City Federal Building killing 168 people and injuring hundreds more.


                      Category: public


                      Suicide: no


                      Cause: terrorism


                      Weapon: explosives 59



                 A. Arson


                      Arson is also a common and very low technology method to cause lots of suffering.



                 New York, N.Y. (1903)
                    11/1/1903: Police and coroner believed that a tenement building fire that killed 26 people

             was "of incendiary origin."


                      Category: residential


                      Suicide: no


                      Cause: unknown




                 58 Flowers And Flowers, M URDERS IN THE U NITED STATES, 30-1; FBI, Jack Gilbert Graham ,
             https://www.fbi.gov/history/famous-cases/jack-gilbert-graham, last accessed October 5, 2022.
                  59 Flowers and Flowers, M URDERS IN THE U NITED S TA TES, 56-7.




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                      Weapon: arson 60



                 Boston, Mass. (1913)
                    Dec. 3, 1913: A lodging house refused a man a room "for want of 15 cents." He lit the

            structure on fire, killing 27 lodgers in a dangerously renovated structure.

                      Category: residential

                      Suicide: no

                      Cause: revenge


                      Weapon: arson 6 1



                 San Francisco, Cal. (1944)
                    03/27/ 1944: Over a period of four hours, five San Francisco skid row hotels "burst into

            flames" following a previous weekend of 11 fires in Oakland hotels. The New Amsterdam Hotel

            fire killed 22 and injured 27. "Authorities noted an odor of kerosene or gasoline." One tenant, 33,

            showed injuries from the fire and was held in the "hospital psychopathic ward."


                      Category: public

                      Suicide: no

                      Cause: mental illness

                      Weapon: arson 62




                 60
                    Tenement House Fire, [Maysville, Ky.] EVENING B ULLETIN, Nov. 2, 1903, 4.
                 61
                    Burns Lodging House Wh en Reji,sed Room; 27 Hom eless Men Died , [New York, N.Y.] EVENING W ORLD, Dec.
            3, 1913, 1.
                62
                   22 Killed In Hotel Fire In San Francisco, [Santa Cruz, Cal.] SANTA CRUZ SENTINEL, Mar. 29, 1944, 1.


                                                                     30
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                 Tulsa, Okla. (1921)
                    05/01/1921: The police arrested a young black man for what later appears to have been an

            accidental touching of a white female elevator operator. Rumors spread that police charged him

            with sexual assault. A lynch mob arrived at the county jail. The sheriff and deputies prevented

            seizure of the young man. A group of armed black men offered to help the sheriff defend the jail.

            This display of arms by black men inflamed white public sentiment leading to the destruction of

            Greenwood, the black section of Tulsa. More than one thousand homes were burned and at least

             89 dead. Newspapers and public officials removed news accounts and official records about the

            riot from files. The Tulsa Race Riot Commission in 2001 "concluded that between 100 and 300

            people were killed and more than 8,000 people made homeless over those 18 hours in 1921," with

            many bodies buried in unmarked mass graves.

                       Category: public

                       Suicide: no


                        Cause: racism

                       Weapon: firearms, arson, unknown? 63



                 Chicago, Ill. (1958)
                    Dec. 1, 1958: Our Lady of the Angels school burned, killing 95 .64 Several years later, a

             13-year-old confessed while on a lie detector that he had started the fire: "because he hated school,




                63   Tulsa Race Riots, https://www.history.com/topics/roaring-twenties/tulsa-race-massacre, last accessed July 5,
             2021.
                64
                     Our Lady of the Angels School fire , https://en.wikipedia.org/wiki/Our_Lady_of_the_Angels_School_fire


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             rebelled at the authority of teachers, liked to hear the sound of fire sirens and to watch fire engines

             race along the street. " 65


                       After 1960, of course, there have been several arson mass murders with equal or larger

             death counts, and this remains a common method of mass murder in other nations. In Australia, an

             arsonist burned the Childers, Queensland's Palace Backpackers Hostel in 2000, killing 15. 66 The

             2011 Quakers Hill Nursing Home fire killed eleven, set by a nurse after police questioned him

             about drug abuse. 67 Japan had several arson mass murders in late 2021, killing 24, 17, and 33 in

             separate incidents.68 These required no advanced firearms technology or even firearms. The
                                                                                                 69
            previously mentioned San Juan, P.R. arson mass murder killed 97.                           The March 25, 1990,

             Happyland Social Club fire killed 87 people, leaving three survivors. Angry at his girlfriend, the

             murderer used $1 of gasoline and a match to set fire to her place of employment. 70



                 New Orleans, La. (1973)
                   Jun. 24, 1973: The murderer took revenge for being expelled from the UpStairs Lounge, a

             gay bar. He walked down the street and bought a bottle of cigarette lighter fluid, killing 33

             people. 71




                65   Boy Admits Fire Fatal To 95, MIAMI NEWS, January 16, 1962, 1.
                66  A Decade On, Childers Remembers Hostel Fire Tragedy, BRISBANE [Australia] TIMES, Jun. 23, 2010.
                 67 Candace Sutton, Man Who Murdered 11 People in Nursing Home Fire 'Frothed At The Mouth' From Drugs And 'Put

             Nails In Tyres And Poured Paint' Over Boss's Car, Inquest Hears, [U.K.] DAILY MAIL, Sep. 8, 2014.
                68  Makiko Inoue, Motoko llich and Hikari Hida, 24 Dead in Suspected Arson at Office Building in Japan , N.Y.
             TIMES,  Dec. 16, 2021, https://www.nytirnes.com/2021 / 12/1 6/world/asia/japan-fire-osaka.html, last accessed
             November 21 , 2022.
                 69 3 Teamsters Charged in San Juan Hotel Fire, CHICAGO TRIBUNE, Feb. 4, 1988,

             https://www.chicagotribune.com/news/ct-xpm- 1988-02-04-8803270617-story.html, last accessed November 24,
             2018.
                 70 Ralph Blumenthal, Fire in the Bronx; 87 Die in Blaze at Illegal Club; Police Arrest Ejected Patron; Worst

             New York Fire Since 1911, NEW YORK TIMES, Mar. 26, 1990.
                 71 Elisabeth Dias with Jim Down, The Horror Upstairs, TIM E, Jul. 1, 20 13 .




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                 Chicago, Ill. (1976)
                    01/30/1976 : An employee of Wincrest Nursing Home with a mental illness problem

             (pyromania) started a fire in a clothing wardrobe, which killed 22 residents. The employee was

             charged with arson. 72



                 E. Brutal Misuse of Tools


                 Villisca, Ia. (1912)
                     Sep. 9, 1912: It appears that a business competitor and member of the Iowa State Senate

             murdered Joseph Moore, his wife Sarah, their four children and two visiting children "with an ax ."

             An "itinerant minister" was charged. The Iowa Attorney-General "sought to commit" the minister

             "to an insane asylum, a step that would bar the prosecution of any other person suspected of the

             crime."


                       Relatives of the victims claimed that the Attorney-General blamed the wrong person; in

             response, the Iowa legislature passed a law prohibiting public discussion of the crime. This led to

             an "injunction against J.N. Wilkerson, a detective, whose four years ' investigation of the murders

             cast suspicion on a prominent state senator." The public meeting by Villisca residents took place

             in Omaha, Neb., instead.


                       Category: greed


                       Suicide: no.


                       Cause: greed




                72
                  National Fire Protection Association, Preliminary Rep ort NFPA Fire Analysis Department Wincrest Nursing
             Home, l , 4, https://oac.cdlib.org/view?docld=hb9v 19p0sd&doc. view=frames&chunk.id=div00008&toc.id=O, last
             accessed November 27, 2022; Woman Indicted in Chicago Blaze, NEw YoRK TIMES, Feb. 4, 1976.


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                     Weapon: ax 73



                 F. Panic


                 Calumet, Mich. (1913)
                    Dec. 24, 1913: A man shouted, "Fire! Fire! Everybody rush!" in the Italian Hall where

             striking miners and their families were meeting for a Christmas party. (There was no fire.) As the

             crowd attempted to exit the hall through an inadequate exit, seventy-four people (mostly children)

            were trampled to death.74 One account ascribed the false claim to "a drunken" man, 75 but

             considering the murder of strikebreakers in Calumet a few weeks before in the middle of a fierce

             labor dispute, 76 this seems unlikely as the cause.


                     Category: public


                     Suicide: no


                     Cause: labor

                     Weapon: mouth 77


                     Causes

                     The focus of the State on the method of mass murder might be better spent on solving the

             problem by solving underlying causes.




                73 Villisca Ax Murders to Be Discussed in Mass Meeting, OMAHA DAILY BEE, Jul. 6, 1917, 1.
                74 Ore Miner Charged Eight-Seven Cents for Month's Labor, OMAHA DAILY B EE, Feb. 12, 1914, 1.
                75 Day ofJoy is One of Sorrow, [Valley City, N.D.] WEEKLY TIMES-RECORD, January 1, 1914, 6.
                76 Strike Breakers Taken to Mines at Point ofPistols , OMAHA DAILY BEE, Jan. 11, 1914, 1 (based on U.S. Dept. of

             Labor report).
                77 Ore Miner Charged Eight-Seven Cents for Month's Labor, OMAHA DAILY BEE, Feb. 12, 1914, 1.




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                        The following table shows the proximate cause of all mass murders in my database before

             1960. (After 1960, the data is not yet complete.) A breakdown of these abbreviations:


                            •   Rob is a mass murder performed as part of a robbery or to eliminate witnesses to
                                the robbery.
                            •   MI (Severe mental illness, primarily psychoses and other illnesses that cut off the
                                sufferer from reality) includes all crimes where either contemporary accounts
                                describe the murderer as insane, or where the nature of the crime makes other
                                explanations implausible (this is necessarily a judgment call, on which my
                                experience with mentally ill relatives and friends informs my opinion).

                                The legal definition of mental illness is much narrower than the medical definition.
                                Through most of U.S . history, the McNaughton Rule (sometimes spelled
                                M'Naughten) defined legal insanity as: "at the time of committing the act, the
                                accused was laboring under such a defect of reason, from disease of the mind, as
                                not to know the nature and quality of the act he was doing or, if he did know it, that
                                he did not know what he was doing was wrong. "78 A person who did not know he
                                was doing wrong, was insane.

                                Persons who are medically mentally ill sometimes know that they are doing wrong
                                and try to escape arrest and conviction (perhaps because the "aliens," or the CIA or
                                KGB "agents" that they have just murdered are still after them). Such persons are
                                legally sane, while in any conventional sense, they are as "mad as hatters."
                            •   MI? are persons whose sanity seems questionable but for which contemporary
                                accounts are less than persuasive.
                            •   PPD (Postpartum Depression): Tragically, many mentally ill or possibly mentally
                                ill incidents (not included in the MI or MI? category) are mass murders by mothers
                                with recently born babies. In cases where the murders are by recent mothers and
                                where news accounts provide no other explanation I have categorized these as
                                postpartum depression .          Some news accounts identified the mother as
                                'temporarily insane" with no previous history of mental illness. In a few cases the
                                news accounts report on previous mental illness hospitalizations associated with
                                previous births.
                            •   Many cases I have listed as "PPD?" because this is a plausible explanation when
                                no other seems more likely.
                            •   Resist is a criminal resisting arrest.
                            •   Unknown describes a very large number of crimes where either the motivation is
                                unclear or the newspaper coverage is silent; this also includes some mass murders
                                where the inability to identify the murderer makes cause impossible to determine.
                            •   Religion is mass murders committed as part ofreligious persecution. (And yes, in
                                America!)



                 78
                      The insanity defense and Diminished Capacity, https://www.law.come ll.edu/background/insane/insanity. html


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                            •   Racism is its frequent cousin. In some cases, these include revenge or retribution
                                against Indians for crimes not, or at least not clearly committed by the victims.
                            •   Politics are murders committed to advance a political cause.
                            •   Terror are mass murders committed to cause mass fear for purposes of political
                                change outside elections. Example: 9/11.
                            •   Revenge are mass murders committed to take revenge for real or perceived injuries
                                by the murderer, his family, or acquaintances.
                            •   Ind are crimes between Indians and settlers that are not official acts of war, but that
                                might have been seen that way by the murderers. I have classified all attacks against
                                peaceful travelers, settlers, and Indians in this cause. (In some cases, the killers
                                openly admitted that the victims were "peaceful," but were supplying guns to less
                                friendly tribes.) 79
                            •   Financial is a strange subclass of family murders committed, usually by a parent
                                concerned their family is about to become impoverished, who then "protect" them
                                from that suffering by mass murder. In some cases, this seems to be a form of
                                mental illness: at least one example involved a mass murderer who was in no danger
                                of impoverishment.
                            •   Labor are crimes committed during labor disputes, sometimes against
                                strikebreakers, sometimes against labor unionists.
                            •   Quarrel are incidents that start out as some relatively minor dispute before
                                escalating into disproportionate response.
                            •   Cult refers to mass murders committed by oddball religious cults; I was surprised
                                how widespread these were in the early 20 th century (the Church of the Sacrifice
                                slaughtered entire families, often with the family's own ax) .
                            •   Rape are mass murders committed to eliminate witnesses to a rape.
                            •   Greed are mass murders carried out to obtain wealth other than by robbery, often
                                by inheritance from the deceased.
                            •   Divorce is an alternative form of Revenge; divorce has been or is in the process
                                and someone is seeking retribution. This includes separated spouses attempting
                                reconciliation.
                            •   Adultery: a variant of Revenge.
                            •   Jealousy: should be obvious.
                            •   Intoxication are crimes attributed to alcohol or drug-induced stupidity. The strong
                                overlap between mental illness and substance abuse (one often causing the other)
                                makes some of these hard to distinguish, especially 150 years after the crime.
                            •   Bullying is a recent category, and one that I suspect reflects some deeper mental
                                illness; I was bullied as a child, had access to low-grade explosives (nerds have
                                peculiar hobbies), and never even thought of mass murder (or even low-intensity
                                revenge).
                            •   Stalker: someone did not get their attentions rewarded as they saw fit.
                            •   Witnesses: Eliminating witnesses to some crime other than rape or robbery .
                            •

                 79   From California and Oregon, [Washington, D.C.]   EVENING STAR,   Mar. 21, 1860, 2.


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                               incidents by cause before 1960


                      Lookup to cause              incidents       dead


                      ADULTERY                                 3      11


                      CULT                                     9      41


                      CULT?                                    3        9


                      DIVORCE                              73       259


                      FINANCIAL                            53       213


                      GANG                                 32       119


                      GREED                                40       263


                      IND                                  24       191


                      INTOX                                53       195

                      JEALOUSY                             37       130

                      LABOR                                46       465

                      LYNCH                                93       353

                      Ml                                 177        726

                      Ml?                                  99       356

                      OTHER                                25       114

                      POLITICS                             21       143

                      QUAR                               173        616




                                                                   37
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                                                                   -
                               incidents by cause before 1960


                      Lookup to cause              incidents       dead
                                                                             1




                      RACISM                               17          266

                      RAPE                                 18           62

                      RELIGION                                 3       175

                      RESIST                               36          156

                      REVENGE                              96          437

                      REVENGE?                                 1         3

                      ROB                                150           607

                      SLAVERY                                  1         4

                      STALKER                                  1         3

                     TERROR                                13          281

                      UNKNOWN                            435       1758

                      WITNESSES                                4        28

                      EXTORTION                                6        43

                      PRISON BREAK                         17           79

                      PPD                                  17           71

                      PPD?                                 60          201




                          •    Plotting the cause without UNKNOWN shows the high frequency causes:




                                                                   38
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                                                                   incidents by cause before 1960
                               200


                               180


                               160


                               140


                               120


                               100


                                80


                                60




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                         •
                     Incidents by cause before 1960 where dead are four or more:


             incidents by cause before 1960 dead >= 4
                Lookup to cause           incidents              dead
             ADULTERY                                       1       5
             CULT                                           9      41
             CULT?                                          1       6
             DIVORCE                                    21        104
             FINANCIAL                                  22        120
             GANG                                           11     57
             GREED                                      21        206
             IND                                        21        182
             INTOX                                      23        109
             JEALOUSY                                       14     62
             LABOR                                      30        417
             LYNCH                                      33        173


                                                                                 39
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             incidents by cause before 1960 dead >= 4
                  Lookup to cause       incidents       dead
             Ml                                   85     459
             Ml?                                  38     178
             OTHER                                10      69
             POLITICS                             14     122
             QUAR                                 56     272
             RACISM                               13     254
             RAPE                                   6     26
             RELIGION                               2    172
             RESIST                               17     103
             REVENGE                              37     263
             ROB                                  70     373
             SLAVERY                               1       4
             TERROR                               11     275
             UNKNOWN                            182     1007
             WITNESSES                              3     25
             EXTORTION                              4     37
             PRISON BREAK                          9      55
             PPD                                  10      50
             PPD?                                 16      70



                      Before 1960 at least four dead, excluding UNKNOWN:




                                                                  40
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                                                                              incidents by cause before 1960 dead >= 4
                                 500

                                 450

                                 400

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                                 200

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                      It should surprise no one that mental illness and likely mental illness are a high frequency

             category. While most mentally ill people are primarily a hazard to themselves, severely mentally

             ill people are overrepresented in murder and other violent crimes. 80 Deinstitutionalization of the

             mentally ill starting with New York in 1964 and California in 1969 played significant roles in

             increased homelessness and violent crime rates. 81


                      Professor Bernard E. Harcourt points out that the rise in murder rates in the 1960s, and

             their decline in the 1990s correlated with the change in the percentage of the population that was


                 80
                     See Clayton E. Cramer, Mental Illness and the Second Amendment. 46 Connecticut Law Review 1301-6 (May
             2014):(collecting studies).
                  81
                     See Clayton E. Cramer, MY BROTHER RON: A PERSONAL AND SOCIAL HISTORY OF THE DEINST!TUTIONALIZATION OF THE
             ME TALLY ILL (2012) and Jean Isaac Rael and Virginia C. Armat, MADNESS IN TH E STREETS: How PSYCHIATRY AND THE LAW
             ABANDONED THE MENTALLY ILL ( 1990) for how beautiful abstract theories and fanaticism created the tragic urban landscape of
             modem America.


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             institutionalized: those who were confined to either a mental hospital or prison. According to

             Harcourt, sociologists examining the expansion of imprisonment in the 1990s, the so-called

             "incarceration revolution," missed the even more important component of institutionalization:

             mental hospitals and then prisons, as mentally ill persons became guests of the state for serious

             crimes. When adding mental hospital inmates to prisoners, Harcourt found an astonishingly strong

             negative correlation between the institutionalization rate, and the murder rate: -0.78. Harcourt

             found that even when adjusting for changes in unemployment and the changing fraction of the

             population that was at their peak violent crime ages, the negative correlation remained strong, and

             did a better job of predicting both the 1960s rise and the 1990s decline in murder rates than other

             models.82


                        Steven P. Segal of the University of California, Berkeley studied state-to-state variations

             m murder rates and mental health care, controlling for socioeconomic, demographic, and

             geographic data. He concluded that "[l]ess access to psychiatric inpatient-beds and more poorly

             rated mental health systems were associated with increases in the homicide rates of 1.08 and 0.26

             per 100,000, respectively." (Since the national average homicide rate was 7.4 per 100,000 people

             for 2020,83 more access to beds is clearly quite important in reducing homicide rates; "poorly rated

             mental health systems" matter, but not as dramatically.)


                        Segal observed an even greater difference from the variation m involuntary civil

             commitment (ICC) laws. "Broader ICC-criteria were associated with 1.42 less homicides per

             100,000" or bit more than one-fourth of the national homicide rate. In short, states where


                 82
                      Bernard E. Harcourt, From the Asylum to the Prison: Rethinking the Incarceration Revolution , 84 Texas Law
            Review 1766-75 (2006).
                 83
                    Centers for Disease Control and Prevention, National Center fo r Health Statistics. National Vital Statistics System,
            Mortality 1999-2020 on CDC WONDER Online Database, released in 2021. Data are from the Multiple Cause of Death Files,
            1999-2020, as compiled from data provided by the 57 vital statistics jurisdictions through the Vital Statistics Cooperative Program.
            Accessed at http://wonder.cdc.gov/ucd-icdl0.html on Nov 3, 2022 12:5 1:23 PM


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            involuntary commitment of the mentally ill was relatively easy had significantly fewer murders

            than states where it was very hard.84


                       A 2000 New York Times examination of mass murderers concluded:


                        The Times' study found that many of the rampage killers .. . suffered from severe
                        psychosis, were known by people in their circles as being noticeably ill and
                        needing help, and received insufficient or inconsistent treatment from a mental
                        health system that seemed incapable of helping these especially intractable
                        patients.

                        Only a small percentage of menta11y ill people are violent, and many advocates
                        bristle at any link between mental illness and violence out of concern that it will
                        further stigmatize an already mistreated population.

                        However, the Times investigation of this particular style of violence -- public
                        rampage killings -- turned up an extremely high association between violence
                        and mental illness. F01ty-seven of the killers had a history of mental health
                        problems before they killed; 20 had been hospitalized for psychiatric problems;
                        42 had been seen by mental health professionals. 85
                       A few representative cases from the period before 1960:



                  New Haven, Conn. (1930)
                    Jun. 21, 1930: The father had been involuntarily committed to a mental hospital. He

            escaped, threw his four children and wife from a 400-foot cliff, then jumped.


                       Category: family


                       Suicide: yes


                       Cause: mental illness




                  84
                     Steven P. Segal, Civil Commitment Law, Mental Health Services, and US Homicide Rates, SOCIAL PSYCHIATRY
            AND     PSYCHIATRIC EPIDEMIOLOGY, November l 0, 2011, https://web.archive.org/web/20170323153646/http: //kendras-
            law.o rg/national-studies/commit:menthomiciderates.pdf, last accessed August 19, 2022.
                 85
                     Laurie Goodstein and William Glaberson, The Well-Marked Roads to Homicidal Rage, N EW YORK TIM ES, Apr.
            10, 2000.


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                     Weapon: other86



                 New York, N.Y. (1953)
                   Apr. 01, 1953: A college professor, 52, under psychiatric care, strangled his wife and their

             two children, then stabbed himself to death.


                     Category: family


                     Suicide: yes


                     Cause: mental illness


                     Weapon: strangled 87



                 Eleva, Wisc. (1909)
                    Feb. 2. 1909: The father stabbed to death his four children, then "stabbed himself and then

            jumped from the barn loft with a rope around his neck. At the same time he hurled a fire brand

             into the stable, firing the barn."


                     Category: family


                     Suicide: Yes.

                     Cause: "[Father] was recently released from an insane asylum."


                     Weapon: knife 88




                86
                   Maniac Veteran Kills His Family, NEW BRITAIN HERALD, Jun. 23, 1930, 9.
                87
                   Triple Murder, Suicide Apparent, [Parsons, Kansas] P ARSONS SUN, Apr. 04, 1953, 7.
                88
                   Murders Whole Family and Then Kills Self, [Pendleton, Ore.] EAST OREGON IAN, Feb. 22, 1909, 8.


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                      Summary

                      Mass murder is not particularly new, nor is historical mass murder a peculiarly group

             activity. Almost everything can be, and has been, used to commit mass murder in America. The

             mass murder at Cleveland School in 1989 that started California's legislative focus on LCMs

             involved a mentally ill drifter with a history of involuntary commitment and a spotty record of

             outpatient treatment. As the California Dept. of Justice's official report observed:


                       In an ideal world, ample resources would have been available to detect his
                       problems, identify them as potentially dangerous and likely to result in his life
                       being uselessly wasted, and to provide for a type of intervention with a
                       reasonable prospect of making a difference. However, in a world in which
                       government spending has to recognize realistic limits set by the public, such
                       resources will never be plentifully available. 89
                      This is an especially painful paragraph for me. My smarter, older brother's spiral down

             into schizophrenia resulted in brushes with law but never with such a horrible ending. It was still

             a life wasted by California's confused and irrational mental health policy. Has California's more

             than 20 years of LCM laws, defenses of those laws, prison sentences for offenders, and dealing

             with other mass murders (not all with guns) really been cheaper than providing mental health care?


                      The focus of the State on the method of mass murder might be better spent on solving the

             underlying causes. This abstract closes with a chilling sentence:


                       A case of an attempted mass shooting at a large psychiatric hospital in the United
                       States by a 30-year-old male with severe mental illness, somatic delusions, and
                       exceptional access to healthcare professionals is reported. Six persons were shot,
                       one died at the scene, and the shooter was then killed by the police. Data were
                       gathered from court documents and media accounts. An analysis of the shooter's
                       psychiatric history, his interactions with healthcare professionals, and
                       communications prior to the shooting suggest a rare f01m of mass murder, a

                 89
                   Nelson Kempsky, A Report to Attorney-General John K. Van de Kamp on Patrick Edward Purdy and the
             Cleveland School Killings, October, 1989, 19, https://schoolshooters.info/sites/default/files/Purdy%20-
             %20official%20report.pdf, last accessed November 26, 2022.


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                        random attack by a documented psychotic and delusional individual suffering
                        with somatic delusions. Despite his being psychotic, the killer planned the attack
                        and made a direct threat 1 month prior to the shootings. This case highlights
                        problems with the healthcare system, indicating that it might be ill
                        equipped to appropriately deal with severe mental illness. 90 [emphasis
                        added]
                      Confronting the extent which a shortage of mental health services and the difficult nature

             of involuntary mental health commitment in much of America would be a more effective strategy.

             A severely mentally ill person without an LCM could follow in the footsteps of previous

             generations and use less regulated weapons: ax, hatchet, knife, poison, trail derailment.


             BACKGROUND AND QUALIFICATIONS

                      A copy of my curriculum vitae is attached to this Declaration as Exhibit Cramer-].

                      I attended Sonoma State University where I received a Bachelor of Arts and master's

             degree in history. My Master's Thesis was "Concealed Weapon Laws of the Early

             Republic".

                      I was awarded First Place by the Association for Education in Journalism and Mass

             Communication Ethics Prize for my article "Ethical Problems of Mass Murder Coverage in

             the Mass Media," Journal ofMass Media Ethics 9: 1 [Winter, 1993-94] 26-42.

                      I am currently employed as an Adjunct Professor College of Western Idaho, Nampa,

             teaching Western Civilization I and U.S. History I.

                      My publication "Why Footnotes Matter: Checking Arming America's Claims,"

             Plagiary 1(11): 1-31 (2006) revealed the falsehoods presented in Michael A. Bellesiles's

             book "Arming America: The Origins of a National Gun Culture" (New York: Alfred A.

             Knopf, Inc. , 2000), including significant discrepancies in American history and citations and


                9
                 °Christine Sarteschi. (2015). Severe Mental Illness, Somatic Delusions, and Attempted Mass Murder.   J OURNAL
             OF FORENS IC S CIENCES. 61. l 0. l l l l/1556-4029.12876.



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            quotes that did not match the historical record. Bellesiles' book contained quotations taken

            out of context, which completely reversed the author's original intent. Dates were altered and

            statutory text was changed to completely reverse the meaning of the law. The sheer volume

            of these errors, and their consistent direction, would seem to preclude honest error. Emory

            University conducted an investigation that strongly criticized Bellesiles' ethical standards;

            Bellesiles resigned from his tenured position at Emory. Columbia University initially

            awarded Bellesiles the Bancroft prize for his book "Arming America", but revoked the

            award

            after my research proved that the book was fraudulent.

                     My publications include:

                     · Lock, Stock, and Barrel: The Origins of America Gun Culture, Praeger Press, 2018;

                   · Social Conservatism in An Age of Revolution: Legislating Christian Morality in
            Revolutionary America, CreateSpace, 2016;

                  · Historical Evidence Concerning Climate Change: Archaeological and Historical
            Evidence That Man Is Not the Cause, CreateSpace, 2016;

                  · My Brother Ron: A Personal and Social History of the Deinstitutionalization of the
            Mentally Ill, CreateSpace, 2012;

                  · "What Did 'Bear Arms' Mean in the Second Amendment?" Georgetown Journal of
            Law and Public Policy, 6:2 [2008]. Co-authored with Joseph Edward Olson;

                    · Armed America: The Remarkable Story of How and Why Guns Became as American
             as Apple Pie, Nelson Current, 2006;

                  · Concealed Weapon Laws of the Early Republic: Dueling, Southern Violence, and
            Moral Reform, Praeger Press, 1999;

                     · Black Demographic Data, 1790-1860: A Sourcebook, Greenwood Press, 1997;

                     · Firing Back: Defending Your Right to Keep and Bear Arms, Krause Publishing,
             1995;



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                   · For The Defense of Themselves and the State: The Original Intent and Judicial
            Interpretation of the Right to Keep and Bear Arms, Praeger Press, 1994;

                    · By The Dim and Flaring Lamps: The Civil War Diary of Samuel Mcllvaine, Editor,
             Library Research Associates, Inc. , 1990

                     I was retained at a rate of $75/hour to prepare this declaration.

                     My compensation is not in any way dependent on the outcome of th is or any related

             proceeding, or on the substance of my opinion.


                     I declare under penalty of perjury that the foregoing is true and correct. Executed

                         . d States on January _26 _ , 2 O23.
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             wit




                                                                  Clayton Cramer




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             EXHIBIT CRAMER-1

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                                  Clayton E. Cramer
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                                Horseshoe Bend, ID 83629
                                      (208) 793-3044
                               clayton@claytoncramer.com
                              http://www.claytoncramer.com


EDUCATION:
Sonoma State University, Rohnert Park, California
June 1998          M.A. in History

Master's Thesis: "Concealed Weapon Laws of the Early Republic"
June 1994           B.A. in History

Honors: cum laude and With Distinction

AWARDS:

1993                 Association for Education in Journalism and Mass Communication
                     Ethics Prize
First Place, Undergraduate Division

TEACHING EXPERIENCE:

 Fall, 2017 -   Adjunct Faculty: College of Western Idaho, Nampa, teaching Western
 present        Civilization I, U.S. History I.

 Fall, 2014 - Recovering from stroke
 Spring, 2017
 Spring, 2010 - Adjunct Faculty: College of Western Idaho, Nampa, teaching Western
 Spring, 2014 Civilization I, U.S. History I.

 Fall, 2009 - Adjunct Faculty: ITT Technical Institute, Boise, teaching State and Local
 Summer 2010 Government and Introduction to Computers.

 Fall,2003      Adjunct Faculty: Boise State University, teaching U.S. Constitutional
                History and at George Fox University (Boise Center), teaching America
                and the World .

 1996           Teaching Assistant: Assisted Professor Peter Mellini in his course
                "Twentieth Century World." I graded quizzes, exams, and answered weekly
                written questions from students. I also prepared and lectured about the rise
                of totalitarianism in the period between the world wars.


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BOOKS:

    Lock, Stock, and Barrel: The Origins ofAmerica Gun Culture Praeger Press, 2018

    Social Conservatism in An Age of Revolution: Legislating Christian Morality in
    Revolutionary America CreateSpace, 2016

    Historical Evidence Concerning Climate Change: Archaeological and Historical
    Evidence That Man Is Not the Cause
    CreateSpace, 2016

    My Brother Ron: A Personal and Social History of the De institutionalization of the
    Mentally Ill
    CreateSpace, 2012

    Armed America: The Remarkable Story of How and Why Guns Became as American
    as Apple Pie
    Nelson Current, 2006

    Concealed Weapon Laws of the Early Republic: Dueling, Southern Violence, and
    Moral Reform
    Praeger Press, 1999

    Black Demographic Data, 1790-1860: A Sourcebook
    Greenwood Press, 1997

    Firing Back: Defending Your Right to Keep and Bear Arms
    Krause Publishing, 1995

    For The Defense of Themselves and the State: The Original Intent and Judicial
    Interpretation of the Right to Keep and Bear Arms
    Praeger Press, 1994

    By The Dim and Flaring Lamps: The Civil War Diary ofSamuel Mcllvaine, editor
    Library Research Associates, Inc., 1990

SELECTED PUBLICATIONS:

           "Bellesiles' Arming America Redux: Does the Gunning of America Rewrite
           American History to Suit Modem Sensibilities?" Southern Illinois University
           Law Journal Spring 2017 Forthcoming"




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      "Assault Weapon Bans: Can They Survive Rational Basis Scrutiny?"
      University ofAkron ConLawNow 8: 1, article 1.

      Co-authored with David B. Kopel and Joseph Olson, "Knives and the Second
      Amendment," University ofMichigan Journal ofLegal Reform, 4 7: 1 167-215
      (2013).

      ' Mental Illness and the Second Amendment," 46 Conn. Law Review 4:1301
      (2014).

      Co-authored with David B. Kopel, " State Court Standards of Review for the
      Right to Keep and Bear Arms," 50 Santa Clara Law Review 101-208 (2010).

     Co-authored with David B. Kopel, "The Keystone of the Second Amendment:
     Quakers, the Pennsylvania Constitution, and the Questionable Scholarship of
     Nathan Kozuskanich," 19 Widener Law Journal 277-320 (2010).

     Co-authored with Nicholas J. Johnson and George A. Mocsary, "'This Right is
     Not Allowed by Governments that are Afraid of the People': The Public
     Meaning of the Second Amendment When the Fourteenth Amendment was
     Ratified," 17 George Mason Law Review 3 :823-862 (2010).

      Co-authored with Don B. Kates, " Second Amendment Limitations and
      Criminological Considerations," 61 Hastings Law Journal 1339-1370 (2009).

      Co-authored with Joseph Edward Olson, "Gun Control: Political Fears Trump
      Crime Control," Maine Law Review, 61 :1 [2009] 57-81

      Co-authored with Joseph Edward Olson, "What Did "Bear Arms" Mean in the
      Second Amendment?" Georgetown Journal of Law & Public Policy, 6:2
      [2008]

      Co-authored with Joseph Edward Olson, "Pistols, Crime, and Public Safety in
      Early America." Willam ette Law Review, 44, [2008]

     " Why Footnotes Matter:         Checking Arming         America's   Claims."
     Plagiary 2006 1 (11): 1-31 [29 September 2006]

     "Michael Bellesiles and Guns in the Early Republic." Ideas on Liberty 52:9
     [September, 2002] 17-22.

     "The Peaceable Kingdom?" Books & Culture: A Christian Review, July/August
     2002, 29.




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          "Confiscating Guns From America's Past." Ideas on Liberty 51 : 1 [January,
          2001] 23-27.

          "Disarming Errors." National Review, October 9, 2000, 54-55 .

          "An American Coup d'Etat?" History Today [November, 1995].

          "A Tale of Three Cities: The Right to Bear Arms in State Supreme Courts."
          Temple Law Review 68:3 [Fall, 1995] 1178-1241. Co-authored with David
          Kopel and Scott Hattrup.

          '" Shall Issue ' : The New Wave of Concealed Handgun Permit Laws." Tennessee
          Law Review 62:3 [Spring, 1995] 679-757.

          "The Racist Roots of Gun Control." Kansas Journal ofLaw & Public Policy 4:2
          [Winter, 1995] 17-25.

          "Ethical Problems of Mass Murder Coverage in the Mass Media." Journal of
          Mass Media Ethics 9:1 [Winter, 1993-94] 26-42.

          A comprehensive list of popular magazine articles would run to many pages; for a
          complete list see http://www.claytoncramer.com/popular/popularmagazines.htm .

CONFERENCES & EXPERT TESTIMONY:

          Ohio State Senate Judiciary Committee, March 22, 1995.

          Michigan House of Representatives Judiciary Committee, December 5, 1995

          American Society of Criminology, San Diego, Cal., November, 1997. "Fear
          And Loathing In Whitehall: Bolshevism And The Firearms Act Of 1920."

          American Society of Criminology, Chicago, Ill., November, 2002. "The Duty
          to be Armed in Colonial America."

          Assisted in research and writing of Respondent' s Brief and Academics for the
          Second Amendment and Claremont Institute amicus briefs for D.C. v. Heller
          (2008).

          Panelist on "Up in Arms: The Second Amendment in the Modern Republic"
          University of Connecticut School of Law, November 15, 2013.

WORKS CITED IN COURT DECISIONS:




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          '" Shall Issue': The New Wave of Concealed Handgun Permit Laws," cited in
          Pagel v. Franscell, 57 P.3d 1226, 1234 (Wyo. 2002); Moody v. ARC of
          Howard County, Inc., Civil No. JKB-09-3228 (D.Md. 2011).

          "'This Right is Not Allowed by Governments that are Afraid of the People':"
          cited in McDonald v. Chicago (2010); Ezell v. City of Chicago (7 th Cir. 2011).

          "Second Amendment Limitations and Criminological Considerations" cited in
          US. v. Yancey, 09-1138 (7th Cir. 2010); US. v. Chester, 628 F.3d 673 (4th Cir.
          2010); US. v. Skoien, 587 F.3d 803 (7 th Cir. 2009).

          "What Did 'Bear Arms' Mean in the Second Amendment?", cited in D.C. v.
          Heller (2008). In addition, significant parts of Justice Scalia's opinion are
          derived from amicus briefs that I helped to research and write.

          For the Defense of Themselves and the State, cited in Mosby v. Devine, 851
          A.2d 1031, 1052 (R1 2004) (Flanders, J ., dissenting);

          US. v. Emerson, 46 F.Supp.2d 598 (N.D. Texas 1999); State v. Sieyes 225 P.
          3d 995 (Wash. 2010).

          "A Tale of Three Cities," cited in State v. Mendoza, 920 P.2d 357, 360 n. 4
          (Hawaii 1996).

          Concealed Weapon Laws of the Early Republic, cited in Senna v. Florimont,
          958 A.2d 427, 433 (N.J. 2008).

          "Mental Illness and the Second Amendment," cited in In Rec EC (N.J.App.
          2015).

          A comprehensive and          up to date         list can       be    found    at
          http://claytoncramer.com/scholarly/journals.htm#citations.

LANGUAGES:

          Very basic reading competence in German.

OTHER SKILLS:

          I have 35 years of experience as a computer software engineer, including
          embedded telecommunications equipment development, web page creation and
          maintenance. I also have an unusually detailed knowledge of the physical
          sciences (for an historian), a deep interest in the history of science and
          technology, and how both influence society.



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                                 CERTIFICATE OF SERVICE

          I hereby certify that on January 26, 2023 , I caused the foregoing to be filed with the

Clerk of the Court using the ECF system, which will provide electronic copies to counsel of

record.

          In addition, the foregoing was served by email as follows:


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Attorneys for Defendants
                                                      VAN NESS WILLIAMSON, LLP


                                               Isl Leonard W Williamson
                                               Leonard W. Williamson, OSB No. 910020
                                               1. williamson@vwllp.com
                                                        Attorney for Plaintiffs




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